Case 5:20-cr-50122-LLP Document 253-1 Filed 08/03/23 Page 1 of 3 PagelD #: 1380

UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA
WESTERN DIVISION

UNITED STATES OF AMERICA
Plaintiff

Vz.

KIMBERLEE PITAWANAK WAT

Defendant

5:20-CR-50122
SUPPLEMENTAL MOTION TO DISMISS
AND FOR ALTERNATIVE RELIEF

EXHIBIT A

Page lof 1
AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of South Dakota

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United States of America — > iy ct
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)  CaseNo, BD! AO-cr-SOlt2-o VS"
KIMBERLEE "STORMY" PITAWANAKWAT, ) OD —
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Defendant 5

ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) KIM BERLEE "STORMY" PITAWANAKWAT,

who is accused of an offense or violation based on the following document filed with the court:

¥ Indictment 1 Superseding Indictment [Information 1 Superseding Information © Complaint
O Probation Violation Petition I Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

False Statements 18 U.S.C. § 1001(a)(2)
Accessory After the Fact 18US.C.§3
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oan STATES My,
NG
Usfoso SSN ee llfhans
Date: __ O9#+7#2020__ 7: (oe 6
= g : 1a = Issuing officer's signature
Sat ig=
City and state: RapidCity,SD 2 as” 7s _ Matthew W. Thelen, Clerk of Court ae
Z On. er Fe = Printed name and title
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at (city and state)

pate: _ Izy /23 _jllb kee ——

Arresting officer's signature

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Printed name and title

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Case 5:20-cr-50122-LLP’ Document 253-1, ‘Filed 08/03/23 Page 3 of 3 ps

GASE 20S-02289 DA#__ COURTCASE # _+
}

State of Oregon )
) PROBABLE CAUSE AFFIDAVIT
County of Lincoln )

E the undersigned police offi icer, after first being duly sworn upon oath, do hereby affirm that the
nnn information is true to the best of my knowledge and belief: CIRCUIT COURT

FILED RECEIVED
E OF ARRESTEE: . bestssessssssteeeeeeeees. Kimberlee Pitawanakwat ~
RESTING OFFICER: . scas uaeanewceoadle x npasece OPO: AN SEP 24 2020
TE/TIME OF ARREST: .........0:cscsessseereeeeeeeeeee 09/24/2020 at 1702 | pours
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BRIEF SUMMARY OF PROBABLE CAUSE

September 24, 2020 at approximately 1700 hours | responded to the intersection of Takelma Ct and
Judd Rd in Siletz, OR based on information that Kimberlee Pitawanakwat was at the location from Sgt
Etheridge. | reviewed dispatch information and found that Pitawanakwat had a federal FBI warrant for
her arrest out of Minneapolis. Dispatch confirmed the warrant. | located and detained Pitawanakwat in
handcuffs, and confirmed her identity using an Oregon DMV photograph. | transported Pitawanakwat

to the Lincoln County Jail where she was lodged. |
|

POLICE OFFICER: V1 ah

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SUBSCRIBED AND S TO BEF: ME THIS c\ DAY OF Sept , 2020 (\
COMMISSION NO. 964145

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NOTARY OR weg. ee
OF THE E COURT: I
| ‘ A - MY COMMISSION EXPIRES AUGUST Q, 2021 /
: \ (

G42 CHRISTOPHER BRYCE MILLER
| NOTARY PUBLIG-OREGCN ,

‘ f\ j
_\I fi nd probable cause axists to believe the arrestee committed the crime(s). “A /;\ Ay
____I find insufficient probable cause exists, based on the information provided herei
____ Defendant released before probable cause determination.

JUDGE: hb ) DATE:
CORRECTIONS OFFICER: i DATE:

Orivinal: :
riginal: Court Copies: DA, Inmate File, Arresting Age0cy
